 Case 1:14-cr-00196-RJJ         ECF No. 89, PageID.179          Filed 01/13/15     Page 1 of 2




                            UNITED STATES OF AMERICA
                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )               Case No. 1:14-cr-00196-GJQ-5
                                    )
v.                                  )               Honorable Gordon J. Quist
                                    )
DONALD ROY WILLIAMS,                )
                                    )
            Defendant.              )
____________________________________)


                           REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on January 13, 2015, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Donald Roy Williams entered a plea of guilty to Count 1 of the Superseding

Indictment in exchange for the undertakings made by the government in the written plea agreement.

In Count 1 of the Superseding Indictment, defendant is charged with Conspiracy to distribute and

possess with intent to distribute 5 kilograms or more of cocaine and 280 grams or more of cocaine

base (crack cocaine) in violation of 21 U.S.C. Sections 846, 841(a)(1), 841(b)(1)(A)(ii)(II) and

841(b)(1)(A)(iii). On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant
 Case 1:14-cr-00196-RJJ            ECF No. 89, PageID.180         Filed 01/13/15       Page 2 of 2




understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.

                 Accordingly, I recommend that defendant's plea of guilty to Count 1 of the

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: January 13, 2015                                 /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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